             Case 1:03-cv-01146-RTD Document 18                                                          Filed 11/22/04 Page 1 of 2 PageID #: 1468



                                                         IN THE UNITED STATES DISTRICT COURT
                                                          W E S T E R ND I S T R I C T O F A R K A N S A S
                                                                  E L D O R A D OD I V I S I O N


                 RAY DANSBY,                                                                                                          *
                                                         Petitioner                                                                   *

                                                                                                                                      *                   NO. 03-CrV-1746
                 V.                                                                                                                   *
                                                                                                                                      *
                 LARRY NORRIS, DIRECTOR,
                 ARKANSAS DEPARTMENT OF
                 CORRECTION,                                                                                                          *
                                                         Po    <nnnrlan                  l-




                                                                                                      ORDER

                         Before                the             Court                     1s             the                Petitioner'                                   s      LJ:]^ro:     c      Cnrnrl               e



                 Petition         and Amended Habeas corpus                                                                               petition.                             The court                      has

                 determined that                          it         is       in the best interests                                                                     of the parties                             to

                 conduct      an evidentiary                                         hearing                             to           determine                              whether                habeas

                 cornus rel ief                    is warranted.                              .          A hearino is scheduled to be held
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                                                                                                                                 -^        or f. L        10:00              A.M.            with              the
                              r


                 hearing      to continue                             until                   concluded.                                   The Court wil_I limlt                                               the

                 hearing          to         Petitioner's                                     CIaims I,                                    II,                 ITI,             IV       and          IX           in

                 Petltioner'              s A m e n d e dH a b e a s C o r p u s P e t i t i o n                                                                        filed       November 20,

                  2003.       (Doc. 10.)

                         The narfies                          a r e advised if                                      there are additj-onal                                                   arguments

                 or issues they would l-ike to present                                                                                     that                 the Court should be

                 notified         forthwith.




AO 72A
(Rev.8/82)
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                       The Court will           defer    ruling      on the petitions    until- after

                 the schedul-ed hearing.

                       IT    IS   S O O R D E R E DT H I S 2 2 n d          Nov     r,   2004



                                                                United    States   District     Judqe


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